          Case 1:17-cv-04179-DLC Document 24 Filed 08/16/17 Page 1 of 1




                                        UNITED STATES
                            SECURITIES AND EXCHANGE COMMISSION
                                  DENVER REGIONAL OFFICE
                             BYRON G. ROGERS FEDERAL BUILDING
                               1961 STOUT STREET, SUITE 1700
                               DENVER, COLORADO 80294-1961
 DIVISION OF                                                                               (303) 844-1084
ENFORCEMENT                                                                             CarlyleZ@sec.gov




                                          August 16, 2017

Honorable Denise Cote
U.S. District Court for the
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Room 1610
New York, NY 10007

       Re:     SEC v. Alpine Securities Corporation, 1:17-CV-04179-DLC

Dear Judge Cote:

        The Securities and Exchange Commission (“SEC”) respectfully requests the Court
adjourn the initial pretrial conference scheduled for September 8, 2017. Undersigned principal
trial counsel for the SEC in this case has a trial in U.S. District Court for the District of Colorado
that was recently delayed and rescheduled to begin on August 22. The estimated length of trial is
approximately three weeks which could mean that SEC counsel will be in trial on September 8.
The SEC is requesting that the initial pretrial conference be adjourned to avoid this potential
conflict.

       Consistent with this Court’s order regarding the initial pretrial conference, counsel for the
SEC has conferred with counsel for Alpine and confirmed that Alpine consents to the proposed
adjournment. Counsel for the parties are available for a rescheduled conference on the following
Fridays over the next month: September 15, September 29 (before 2:00 pm), and October 6.
Counsel for Alpine has expressed a preference for holding the conference on October 6. If these
proposed dates are not available, counsel will gladly submit additional available dates and times
on succeeding Fridays.


                                                      Sincerely,

                                                      /s/ Zachary T. Carlyle

                                                      Zachary T. Carlyle
                                                      Senior Trial Counsel
Cc:    All counsel of record
